Case 1:20-cr-10136-RGS Document 345 Filed 06/02/21 Page 1 of 7

U.S. Department of Justice

Nathaniel R. Mendell
Acting United States Attorney
District of Massachusetts

 

 

Main Reception: (617) 748-3100 John Joseph Moakley United States Courthouse
I Courthouse Way
Suite 9200
Boston, Massachusetts 02210

March 16, 2021

Robert L. Sheketoff, Esq.
One McKinley Square, Floor 3
Boston, MA 02109

Re: United States v. Renardo Williams
Criminal No. 20-10136-RGS-17

Dear Mr. Sheketoff:

The United States Attorney for the District of Massachusetts (“the U.S. Attorney”) and your
client, Renardo Williams (“Defendant”), agree as follows, pursuant to Federal Rule of Criminal

Procedure 11(c)(1)(B):

1. Change of Plea

Defendant will waive indictment and plead guilty to the Superseding Information charging
him with conspiracy to distribute and possess with intent to distribute cocaine, in violation of 21
U.S.C. § 846 (Count One); and being a felon in possession of a firearm and ammunition, in
violation of 18 U.S.C. § 922(g)(1) (Count Two). Defendant admits that he committed the crimes
specified in these counts and is in fact guilty of each one.

2. Penalties

Defendant faces the following mandatory minimum and maximum penalties on Count One
of the Superseding Information: incarceration for up to thirty years; supervised release for at least
six years up to life; a fine of $2,000,000; a mandatory special assessment of $100; and forfeiture
to the extent charged in the Superseding Information.

Defendant faces the following maximum penalties for Count Two: incarceration for ten
years; supervised release for three years; a fine of $250,000; and a mandatory special assessment
of $100.

1

 
Case 1:20-cr-10136-RGS Document 345 Filed 06/02/21 Page 2 of 7

3, Sentencing Guidelines

The parties agree, based on the following calculations, that Defendant’s total “offense
level” under the Guidelines is 21:

a) Defendant’s base offense level is 20, because Defendant possessed a firearm
and ammunition subsequent to sustaining a felony conviction of a controlled

substance offense (USSG § 2K2.1(a)(4)(A));

b) Defendant’s offense level is increased by four levels, because Defendant
possessed a firearm and ammunition in connection with another felony offense
(USSG § 2K2.(b)(6)(B); and

c) Defendant’s offense level is decreased by three levels, because Defendant has
accepted responsibility for Defendant’s crimes (USSG § 3E1.1).

Defendant understands that the Court is not required to follow this calculation or even to
sentence Defendant within the Guidelines and that Defendant may not withdraw his guilty plea if
Defendant disagrees with how the Court calculates the Guidelines or with the sentence the Court
imposes.

Defendant also understands that the government will object to any reduction in his sentence
based on acceptance of responsibility if: (a) at sentencing, Defendant (himself or through counsel)
indicates that he does not fully accept responsibility for having engaged in the conduct underlying
each of the elements of the crimes to which he is pleading guilty; or (b) by the time of sentencing,
Defendant has committed a new federal or state offense, or has in any way obstructed justice.

If, after signing this Agreement, Defendant’s criminal history score or Criminal History
Category is reduced, the U.S. Attorney reserves the right to seek an upward departure under the
Guidelines.

Nothing in this Plea Agreement affects the U.S. Attorney’s obligation to provide the Court
and the U.S. Probation Office with accurate and complete information regarding this case.

4. Sentence Recommendation
The U.S. Attorney agrees to recommend the following sentence to the Court:

a) incarceration at the low end of the Guidelines sentencing range as calculated by
the parties;

b) a fine within the Guidelines sentencing range as calculated by the parties, unless
the Court finds that Defendant is not able, and is not likely to become able, to
pay a fine;

 
Case 1:20-cr-10136-RGS Document 345 Filed 06/02/21 Page 3 of 7

c) 6 years of supervised release;

d) amandatory special assessment of $200, which Defendant must pay to the Clerk
of the Court by the date of sentencing; and

e) forfeiture as set forth in Paragraph 6.
5. Waiver of Appellate Rights and Challenges to Conviction or Sentence

Defendant has the right to challenge his conviction and sentence on “direct appeal.” This
means that Defendant has the right to ask a higher court (the “appeals court”) to look at what
happened in this case and, if the appeals court finds that the trial court or the parties made certain
mistakes, overturn Defendant’s conviction or sentence. Also, in some instances, Defendant has
the right to file a separate civil lawsuit claiming that serious mistakes were made in this case and
that his conviction or sentence should be overturned.

Defendant understands that he has these rights, but now agrees to give them up.
Specifically, Defendant agrees that:

a) He will not challenge his conviction on direct appeal or in any other proceeding,
including in a separate civil lawsuit; and

b) He will not challenge his sentence, including any court orders related to
forfeiture, restitution, fines or supervised release, on direct appeal or in any
other proceeding, including in a separate civil lawsuit.

 

Defendant understands that, by agreeing to the above, he is agreeing that his conviction
and sentence will be final when the Court issues a written judgment after the sentencing hearing
in this case. That is, after the Court issues a written judgment, Defendant will lose the right to
appeal or otherwise challenge his conviction and sentence, regardless of whether he later changes
his mind or finds new information that would have led him not to agree to give up these rights in

the first place.

Defendant acknowledges that he is agreeing to give up these rights at least partly in
exchange for concessions the U.S. Attorney is making in this Agreement.

The parties agree that, despite giving up these rights, Defendant keeps the right to later
claim that his lawyer rendered ineffective assistance of counsel, or that the prosecutor or a member
of law enforcement involved in the case engaged in intentional misconduct serious enough to
entitle Defendant to have his conviction or sentence overturned.

6. Forfeiture

Defendant understands that the Court will, upon acceptance of Defendant’s guilty plea,
enter an order of forfeiture as part of Defendant’s sentence, and that the order of forfeiture may

3

 
Case 1:20-cr-10136-RGS Document 345 Filed 06/02/21 Page 4 of 7

include assets directly traceable to Defendant’s offense, assets used to facilitate Defendant’s
offense, substitute assets and/or a money judgment equal to the value of the property derived from,
ot otherwise involved in, the offense.

The assets to be forfeited specifically include, without limitation, the following:

a. a Ruger, model LCP, .380 caliber pistol, bearing serial number NRA00481;
seized on or about July 30, 2019; and

b. five rounds of .380 caliber ammunition, seized on or about July 30, 2019.

Defendant admits that these assets are subject to forfeiture on the grounds that they
constitute, or are derived from, proceeds of Defendant’s offense; or they were used to facilitate
Defendant’s offense. Defendant agrees to consent to the entry of orders of forfeiture for such
property and waives the requirements of Federal Rules of Criminal Procedure 11(b)(1)(J), 32.2,
and 43(a) regarding notice of the forfeiture in the charging instrument, advice regarding the
forfeiture at the change-of-plea hearing, announcement of the forfeiture at sentencing, and
incorporation of the forfeiture in the judgment. Defendant understands and agrees that forfeiture
shall not satisfy or affect any fine, lien, penalty, restitution, cost of imprisonment, tax liability or
any other debt owed to the United States.

Defendant agrees to assist fully in the forfeiture of the foregoing assets. Defendant agrees
to promptly take all steps necessary to pass clear title to the forfeited assets to the United States,
including but not limited to executing any and all documents necessary to transfer such title,
assisting in bringing any assets located outside of the United States within the jurisdiction of the
United States, and taking whatever steps are necessary to ensure that assets subject to forfeiture
are not sold, disbursed, wasted, hidden or otherwise made unavailable for forfeiture. Defendant
further agrees (a) not to assist any third party in asserting a claim to the forfeited assets in an
ancillary proceeding, and (b) to testify truthfully in any such proceeding.

If the U.S. Attorney requests, Defendant shall deliver to the U.S. Attorney within 30 days
after signing this Plea Agreement a sworn financial statement disclosing all assets in which
Defendant currently has any interest and all assets over which Defendant has exercised control, or
has had any legal or beneficial interest. Defendant further agrees to be deposed with respect to
Defendant’s assets at the request of the U.S. Attorney. Defendant agrees that the United States
Department of Probation may share any financial information about the Defendant with the United
States Attorney’s Office.

Defendant also agrees to waive all constitutional, legal, and equitable challenges (including
direct appeal, habeas corpus, or any other means) to any forfeiture carried out in accordance with
this Plea Agreement.

Defendant hereby waives and releases any claims Defendant may have to any vehicles,
currency, or other personal property seized by the United States, or seized by any state or local
law enforcement agency and turned over to the United States, during the investigation and

4

 
Case 1:20-cr-10136-RGS Document 345 Filed 06/02/21 Page 5 of 7

prosecution of this case, and consents to the forfeiture of all such assets.

7. Civil Liability

This Plea Agreement does not affect any civil liability, including any tax liability,
Defendant has incurred or may later incur due to his criminal conduct and guilty plea to the charges
specified in Paragraph 1 of this Agreement.

8. Breach of Plea Agreement

Defendant understands that if he breaches any provision of this Agreement, violates any
condition of Defendant’s pre-trial release or commits any crime following Defendant’s execution
of this Plea Agreement, Defendant cannot rely upon such conduct to withdraw his guilty plea.
Defendant’s conduct, however, would give the U.S. Attorney the right to be released from his
commitments under this Agreement, to pursue any charges that were, or are to be, dismissed under
this Agreement, and to use against Defendant any of Defendant’s statements, and any information
or materials he provided to the government during investigation or prosecution of his case—even
if the parties had entered any earlier written or oral agreements or understandings about this issue.

Defendant also understands that ifhe breaches any provision of this Agreement or engages
in any of the aforementioned conduct, he thereby waives any defenses based on the statute of
limitations, constitutional protections against pre-indictment delay, and the Speedy Trial Act, that
Defendant otherwise may have had to any charges based on conduct occurring before the date of
this Agreement.

9. Who is Bound by Plea Agreement

This Agreement is only between Defendant and the U.S. Attorney for the District of
Massachusetts. It does not bind the Attorney General of the United States or any other federal,
state, or local prosecuting authorities.

10. Modifications to Plea Agreement

This Agreement can be modified or supplemented only in a written memorandum signed
by both parties, or through proceedings in open coutt.

 
Case 1:20-cr-10136-RGS Document 345 Filed 06/02/21 Page 6 of 7

* * *

If this letter accurately reflects the agreement between the U.S. Attorney and Defendant,
please have Defendant sign the Acknowledgment of Plea Agreement below. Please also sign
below as Witness. Return the original of this letter to Assistant U.S. Attorney Timothy E. Moran.

Sincerely,

NATHANIEL R. MENDELL
Acting United States Attorney

By: /s/ Glenn A. MacKinlay
GLENN A. MACKINLAY
Chief, Organized Crime and Gang Unit

Digitally signed by TIMOTHY

TIMOTHY MORAN soran

Date: 2021.04.27 14:02:16 -04'00"

 

 

TIMOTHY E. MORAN
KAITLIN R. O’DONNELL
Assistant U.S. Attorneys
Case 1:20-cr-10136-RGS Document 345 Filed 06/02/21 Page 7 of 7

ACKNOWLEDGMENT OF PLEA AGREEMENT

I have read this letter and discussed it with my attorney. The letter accurately presents my
agreement with the United States Attorney’s Office for the District of Massachusetts. There are no
unwritten agreements between me and the United States Attorney’s Office, and no United States
government official has made any unwritten promises or representations to me in connection with
my guilty plea. I have received no prior offers to resolve this case.

I understand the crimes I am pleading guilty to, and the mandatory minimum and maximum
penalties for those crimes. I have discussed the Sentencing Guidelines with my lawyer and I
understand the sentencing ranges that may apply.

I am satisfied with the legal representation my lawyer has given me and we have had
enough time to meet and discuss my case. We have discussed the charges against me, possible
defenses I might have, the terms of this Agreement and whether I should go to trial.

I am entering into this Agreement freely and voluntarily and because I am in fact guilty of
the offenses. I believe this Agreement is in my best interest.

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RENARDO WILLIAMS
Defendant

Date: S [t 2f20
I certify that Renardo Williams has read this Agreement and that we have discussed what

it means. I believe Renardo Williams understands the Agreement and is entering into it freely,
voluntarily, and knowingly. I also certify that the U.S. Attorney has not extended any other offers

regarding a change of plea in this case.

ROBERT L. SHEKETOFF
Attorney for Defendant

Date: 5 [1-/24

 
